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                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 5/3/2022
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                                                                  :
PASCAL CHARPENTIER, EDUOARD JOSEPH :
CHARPENTIER, and MARLENE DEETJEN                                  :
SMITH,                                                            :        1:20-cv-07510-GHW
                                                                  :
                                                  Plaintiffs, :                 ORDER
                                                                  :
                              -v -                                :
                                                                  :
DEPARTMENT OF HOMELAND SECURITY, :
DEPARTMENT OF STATE, IMMIGRATION :
AND CUSTOMS ENFORCEMENT, and                                      :
UNITED STATES CITIZENSHIP AND                                     :
IMMIGRATION SERVICES,                                             :
                                                                  :
                                               Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         On May 3, 2022, the Court held a status conference in this case. At the conference, the

parties agreed on the record to dismiss the case without prejudice. Accordingly, the Court dismisses

this action without prejudice under Fed. R. Civ. P. 41(a)(2).

         The Clerk of Court is directed to close this case.

         SO ORDERED.

Dated: May 3, 2022
       New York, New York                                         __________________________________
                                                                         GREGORY H. WOODS
                                                                        United States District Judge
